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                              No. 22-8007

       In The United States Court of Appeals
               for the Third Circuit
                         ––––––––––––––––––––
      Commonwealth of Pennsylvania, Pennsylvania Game Commission,

                                                                     Petitioner,
                                     v.
                       Thomas E. Proctor Heirs Trust,

                                                                  Respondent.
                         ––––––––––––––––––––
       On Petition for Appeal from the United States District Court for the
           Middle District of Pennsylvania Case No. 12-cv-1567
           The Honorable Christopher C. Conner, District Judge


         ANSWER TO PETITION FOR PERMISSION TO APPEAL


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                 Rule 26.1 Corporate Disclosure Statement

       Pursuant to Federal Rule of Appellate Procedure 26.1, the Thomas E.
Proctor Heirs Trust certifies that it is a Massachusetts Trust and that no pub-
licly owned corporation has a financial interest in the outcome of this litiga-
tion.




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                Answer to Petition for Permission to Appeal

      The Commonwealth of Pennsylvania, Pennsylvania Game Commission

(the “Game Commission”) seeks certification of the District Court’s December

3, 2021 judgment in favor of the Thomas E. Proctor Heirs Trust (the “Trust”).

The Trust agrees that the question certified by the District Court is controlling

and that its resolution will materially advance the litigation over the remaining

tracts of land at issue in this case. Accordingly, the Trust does not oppose inter-

locutory appeal under 28 U.S.C. § 1292(b). However, the Game Commission’s

petition to this Court seeks to expand its appeal’s scope beyond the certified

question, to include an issue that is neither controlling nor within the scope of

the District Court’s order. If the Court grants permission to appeal, it should

limit its review to the question certified by the District Court.

      Following a bench trial, on December 3, 2021, the District Court entered

judgment in favor of the Trust, declaring it the owner of the oil, gas, and miner-

als in and under the bellwether tract of the Josiah Haines Warrant in Bradford

County, Pennsylvania. The District Court’s ruling rested in part upon its deter-

mination that under Pennsylvania law, the owner of unseated land had a duty

to pay the taxes, thereby preventing the owner or its agent from acquiring bet-

ter title at a tax sale caused by the owner’s failure to pay taxes. Pet. Ex. A at 35,

39–43.
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      The Game Commission sought certification of the Court’s December 3,

2021 order for interlocutory appeal, requesting certification of two questions:

(1) whether the tax sale could be collaterally attacked on the basis that the sev-

erance of the surface and subsurface estate were reported; and (2) whether

there was a duty obligating the surface owner to pay the taxes on unseated land.

In its order granting certification under 28 U.S.C. § 1292(b), the District Court

certified a single question:

      Under Pennsylvania law in effect at all times relevant to the instant
      quiet title dispute, did the owner of an unseated surface estate have
      a legal duty to pay taxes assessed on said surface estate, thereby
      preventing the owner—or the owner’s agent—from acquiring bet-
      ter title to the land at a tax sale induced by the unseated surface
      owner’s default?

Pet. Ex. C at 3.

      Despite the District Court’s certification of only one question, the Game

Commission now seeks review of an additional question—whether the two-

year limitation in the Act of 1815 to challenges to the irregularity of the assess-

ments somehow precludes the Trust’s claims here. This uncertified question

simply is not relevant to the resolution of this case because the Trust never

challenged the propriety of the tax sale itself or the assessment on which it was

based.

      More critically, resolution of that question has no bearing on the District

Court’s ruling in this case. The District Court’s ruling did not invalidate the tax
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sale—it only determined the effect the tax sale had on the title to the subsurface

estate. Following trial, the District Court determined that the tax sale pur-

chaser—Calvin H. McCauley, Jr.—was acting as the agent of the defaulting sur-

face owner at the tax sale and that his purchase “effectuated nothing more than

a redemption of its surface interest.” Pet. Ex. A at 43. The Trust agrees with the

District Court that this ruling and the certified question are controlling for the

remaining tracts in this case. Therefore, the Trust does not oppose appeal on

the District Court’s certified question. However, the Trust disagrees with the

Game Commission’s attempt to appeal an uncertified question that would have

no impact on the District Court’s judgment. That question is not “controlling”

under Section 1292(b), nor is it within the scope of the District Court’s certified

order. The Trust further disagrees with the Game Commission’s representa-

tions of the law and facts involved in this case, but will reserve those points for

its argument on the merits of any appeal.

                                   Conclusion

      The Trust does not oppose interlocutory appeal limited to the question

certified by the District Court.




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Respectfully submitted,            /s/ Laura Lange
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                         Certificate of Bar Membership

      I hereby certify that I am a member in good standing of the bar of the

United States Court of Appeals for the Third Circuit.

   Dated: February 14, 2022             /s/ Laura Lange
                                        Laura Lange




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                 Certificate of Compliance with Rule 32(a)

      This answer complies with the type volume limitation of Federal Rule of

Appellate Procedure 5(c) because it contains 677 words, exclusive of the cover

and certificates. This answer complies with the typeface and type style require-

ments of Federal Rules of Appellate Procedure 32(a)(5) and (6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word 2019

in 14-point Century Schoolbook font.

   Dated: February 14, 2022             /s/ Laura Lange
                                        Laura Lange




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                        LAR Rule 31.1(c) Certification

      In accordance with Third Circuit Local Appellate 31.1(c), I certify that the

text of the electronic answer is identical to the text of the paper copies being

filed. I further certify that the electronic submission was subjected to a virus

scan using Norton Security software program version 22.18.0.213.

   Dated: February 14, 2022             /s/ Laura Lange
                                        Laura Lange




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                           Certificate of Service

     I hereby certify that, on February 14, 2022, a true and correct copy of an-

swer to the petition was served on counsel of record through the Court’s

CM/ECF system.

   Dated: February 14, 2022            /s/ Laura Lange
                                       Laura Lange




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